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                 THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE:                                      :
 LASAUNDRA WILLIAMS                          :     BK. No. 19-16364 JKF
                        Debtor               :
                                             :     Chapter No. 13
 HSBC BANK USA, N.A., AS INDENTURE           :
 TRUSTEE FOR THE REGISTERED
 NOTEHOLDERS OF RENAISSANCE HOME
 EQUITY LOAN TRUST 2007-2
                        Movant                     11 U.S.C. §362 AND §1301
                 v.
 LASAUNDRA WILLIAMS
 WILLIE B. WILLIAMS (NON-FILING CO-
 DEBTOR)
 LOUISE E. WILLIAMS (NON-FILING CO-
 DEBTOR)
                        Respondents

     MOTION OF HSBC BANK USA, N.A., AS INDENTURE TRUSTEE FOR THE
REGISTERED NOTEHOLDERS OF RENAISSANCE HOME EQUITY LOAN TRUST 2007-
  2 FOR RELIEF FROM AUTOMATIC STAY UNDER §362 AND CO-DEBTOR STAY
      UNDER §1301 PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and Co-Debtor Stay and leave to foreclose on its mortgage

on real property owned by Debtors LASAUNDRA WILLIAMS, NON-FILING CO-DEBTOR

WILLIE B. WILLIAMS AND NON-FILING CO-DEBTOR LOUISE E. WILLIAMS.

               1.      Movant is HSBC BANK USA, N.A., AS INDENTURE TRUSTEE FOR

THE REGISTERED NOTEHOLDERS OF RENAISSANCE HOME EQUITY LOAN TRUST

2007-2.

               2.      Debtors, LASAUNDRA WILLIAMS, NON-FILING CO-DEBTOR WILLIE

B. WILLIAMS AND NON-FILING CO-DEBTOR LOUISE E. WILLIAMS are the owners of the

premises located at 819 WINDER DR, BRISTOL, PA 19007, hereinafter known as the mortgaged

premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Debtor's failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.
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                5.      Movant wishes to institute foreclosure proceedings on the mortgage because of

Debtor's failure to make the monthly payment required hereunder.

                6.      The foreclosure proceedings to be instituted were stayed by the filing of the

instant Chapter 13 Petition.

                7.      As of April 1, 2020, Debtor has failed to tender post-petition mortgage

payments for the months of February 2020 through April 2020. The monthly payment amount for the

months of February 2020 through April 2020 is $1,048.26, less funds in suspense in the amount of

$103.22 for a total amount due of $3,041.56. The next payment is due on or before May 1, 2020 in the

amount of $1,048.26. The notice of post-petition fees has already been filed for the following fees and

costs that have been incurred since bankruptcy filing: Proof of Claim $500.00, Prep of 410A $250.00

and Plan Review $150.00. Under the terms of the Note and Mortgage, Debtor has a continuing

obligation to remain current post-petition and failure to do so results in a lack of adequate protection to

Movant.

                8.      Movant, HSBC BANK USA, N.A., AS INDENTURE TRUSTEE FOR

THE REGISTERED NOTEHOLDERS OF RENAISSANCE HOME EQUITY LOAN TRUST

2007-2, requests the Court award reimbursement in the amount of $1,231.00 for the legal fees and

costs associated with this Motion.

                9.      Movant additionally seeks relief from the Co-Debtor Stay under section 1301

(c)(if applicable) in the instant case, as the continuation of the co-debtor stay causes irreparable harm

to the Movant. Movant may be barred from moving forward with its state court rights under the terms

of the mortgage without relief from the Co-Debtor Stay.

                10.     Movant has cause to have the Automatic Stay and Co-Debtor Stay terminated

as to permit Movant to complete foreclosure on its mortgage.

                11.     Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.
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                12.    PHH MORTGAGE CORPORATION services the underlying mortgage loan

and note for the property referenced in this Motion for Relief for HSBC BANK USA, N.A., AS

INDENTURE TRUSTEE FOR THE REGISTERED NOTEHOLDERS OF RENAISSANCE HOME

EQUITY LOAN TRUST 2007-2 (the noteholder) and is entitled to proceed accordingly. Should the

Automatic Stay be lifted and/ or set aside by Order of this Court or if this case is dismissed or if the

debtor obtains a discharge and a foreclosure action is commenced or recommenced, said foreclosure

action will be conducted in the name of HSBC BANK USA, N.A., AS INDENTURE TRUSTEE FOR

THE REGISTERED NOTEHOLDERS OF RENAISSANCE HOME EQUITY LOAN TRUST 2007-

2 (the noteholder). HSBC BANK USA, N.A., AS INDENTURE TRUSTEE FOR THE

REGISTERED NOTEHOLDERS OF RENAISSANCE HOME EQUITY LOAN TRUST 2007-2 (the

noteholder) has the right to foreclose because Noteholder is the original mortgagee or beneficiary or

assignee of the security instrument for the referenced loan. Noteholder directly or through an agent has

possession of the promissory note and the promissory note is either made payable to Noteholder or has

been duly endorsed.

                WHEREFORE, Movant respectfully requests that this Court enter an Order;

                a.     modifying the Automatic Stay under Section 362 and Co-Debtor Stay with

respect to 819 WINDER DR, BRISTOL, PA 19007 (as more fully set forth in the legal description

attached to the Mortgage of record granted against the Premises), as to allow Movant, its successors

and assignees, to proceed with its rights under the terms of said Mortgage; and

                b.     That relief from any Co-Debtor Stay (if applicable) is hereby granted; and

                c.     Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

                d.     Granting any other relief that this Court deems equitable and just.

                                                     /s/ Mario J. Hanyon, Esquire
                                                     Mario J. Hanyon, Esq., Id. No.203993
                                                     Phelan Hallinan Diamond & Jones, LLP
April 7, 2020                                        1617 JFK Boulevard, Suite 1400
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